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          Exhibit D-1
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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

   SUSAN BYRNE,                               :
     Plaintiff                                :     Civil Action No.
                                              :
   vs.                                        :     3:17-cv-01104-VLB
                                              :
   YALE UNIVERSITY                            :
     Defendant                                :     DECEMBER 30, 2019
                                              :

                  DEFENDANT YALE UNIVERSITY’S WITNESS LIST

         In addition to any witnesses listed by Plaintiff, Defendant Yale University

currently anticipates calling the following witnesses in the trial of the above-

referenced matter:

  WITNESS          ADDRESS          DESCRIPTION OF           Expected Likelihood
                                      TESTIMONY               Duration   That
                                                              of Direct Witness
                                                             Testimony  Will be
                                                                        Called
Rolena            Current Yale   Professor Adorno will
Adorno            employee;      testify regarding the
                  please         departmental decision
                  contact        not to grant tenure to      2-4 Hours   Likely to
                  undersigned    Plaintiff, the tenure                   Testify
                  counsel        review process,
                                 Plaintiff’s scholarship,
                                 and other facts and
                                 circumstances related to
                                 this matter.
Ralph             Current Yale   Professor Bloch will
Howard            employee;      testify regarding his
Bloch             please         evaluation of Plaintiff’s
                  contact        scholarship, his            1-2 Hours   Likely to
                  undersigned    participation on the                    Testify
                  counsel        departmental review
                                 committee, the
                                 departmental meeting to
                                 decide Plaintiff’s tenure
                                 case, and other facts and
                                 circumstances related to

                                          1
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                            this matter.
Julie Dorsey Current Yale   Professor Dorsey will
             employee;      testify regarding her
             please         review, as part of a         1 Hour      If the need
             contact        committee, of the                        arises
             undersigned    Plaintiff’s appeals
             counsel        following the tenure
                            decision, and other facts
                            and circumstances
                            related to this matter.
Jack         Current Yale   Dean Dovidio will testify
Dovidio      employee;      regarding the tenure
             please         review process, both
             contact        generally and in the case    2-4 Hours   Likely to
             undersigned    of Plaintiff, his                        Testify
             counsel        involvement in Plaintiff’s
                            tenure review, Plaintiff’s
                            recusal request, and
                            other facts and
                            circumstances related to
                            this matter.
Tamar        Current Yale   Dean Gendler will testify
Gendler      employee;      regarding the tenure
             please         review process, both         2-3 Hours   Likely to
             contact        generally and in the case                Testify
             undersigned    of Plaintiff, her
             counsel        involvement in the tenure
                            review process, and
                            other facts and
                            circumstances related to
                            this matter.
Roberto      Current Yale   Professor Gonzalez
Gonzalez     employee;      Echevarria will testify
Echevarria   please         regarding the
             contact        departmental decision
             undersigned    not to grant tenure to       1-2 Hours   Likely to
             counsel        Plaintiff, the tenure                    Testify
                            review process,
                            Plaintiff’s scholarship,
                            and other facts and
                            circumstances related to
                            this matter.


Amy          Current Yale   Dean Hungerford will
Hungerford   employee;      testify regarding the

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            please         tenure review process,
            contact        both generally and in the 1-3 Hours   Likely to
            undersigned    case of Plaintiff, her                Testify
            counsel        involvement in the tenure
                           review process, and
                           other facts and
                           circumstances related to
                           this matter.




John        Current Yale   Dean Mangan will testify
Mangan      employee;      regarding his
            please         involvement with issues
            contact        related to the Plaintiff’s
            undersigned    Associate Professor          1 Hour   If the need
            counsel        Leave proposals, and                  arises
                           other facts and
                           circumstances related to
                           this matter.
Giuseppe    Current Yale   Professor Mazzotta will
Mazzotta    employee;      testify regarding his
            please         evaluation of Plaintiff’s
            contact        scholarship, his
            undersigned    participation on the         1 Hour   Likely to
            counsel        departmental review                   Testify
                           committee, the
                           departmental meeting to
                           decide Plaintiff’s tenure
                           case, and other facts and
                           circumstances related to
                           this matter.
Benjamin    Current Yale   Provost Polak will testify
Polak       employee;      regarding his
            please         involvement in Plaintiff’s
            contact        tenure review process,
            undersigned    his appointment of a         1 Hour   Likely to
            counsel        committee to the review               Testify
                           the tenure decision, and
                           other facts and
                           circumstances related to
                           this matter.
Jamaal      Current Yale   Mr. Thomas will testify
Thomas      employee;      regarding statements

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                       please         made by Plaintiff to him    1 Hour      If the need
                       contact        as part of the Climate                  arises
                       undersigned    Review of the
                       counsel        Department of Spanish
                                      and Portuguese.


 Noel Valis            Current Yale   Professor Valis will
                       employee;      testify regarding the
                       please         departmental decision
                       contact        not to grant tenure to
                       undersigned    Plaintiff, the tenure       2-4 Hours   Likely to
                       counsel        review process,                         Testify
                                      Plaintiff’s scholarship,
                                      and other facts and
                                      circumstances related to
                                      this matter.
 Steven                Current Yale   Professor Wilkinson will
 Wilkinson             employee;      testify regarding his
                       please         review, as Chair of a
                       contact        committee, of the           1-2 Hours   Likely to
                       undersigned    Plaintiff’s appeals                     Testify
                       counsel        following the Plaintiff’s
                                      tenure decision, and
                                      other facts and
                                      circumstances related to
                                      this matter.
4833-0956-8686, v. 1




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